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States District Court
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UNITED STATES DISTRICT COURT OCT 15 2019
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION David J. Bradioy, Ototh

UNITED STATES OF AMERICA :
v. s Criminal No. y. 1 9-] 999
MIKE ALANIZ §
CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

From on or about January 15, 2017, to on or about February 23, 2017, in the Southern
District of Texas and within the jurisdiction of the Court, defendant,

MIKE ALANIZ

being an agent of the City of La Joya, a local government that received benefits in excess of
$10,000 pursuant to a Federal program involving a grant, contract, subsidy, loan guarantee, and
other forms of Federal assistance in 2017, did embezzle, steal, obtained by fraud, or otherwise
without authority knowingly converted to the use of any person other than the rightful owner or
intentionally misapplied, property valued at $5,000 or more, and is owned by, or is under the care,
custody, or control of the City of La Joya, namely, the Defendant used his position as the City
Administrator of La Joya to effectuate the City of La Joya’s purchase of Lot 112 of Palm Shores
Subdivision, a lot owned by the Defendant, for the price of $39,500.00.

In violation of Title 18, United States Code, Sections 666 (a)(1)(A) and 2.

NOTICE OF CRIMINAL FORFEITURE
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States

Code, Section 2461(c), the United States gives notice to the defendant,
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MIKE ALANIZ
that upon conviction for the offense in this Information, all property, real or personal, which
constitutes or is derived from proceeds traceable to such offense, is subject to forfeiture.
Property Subject to Forfeiture
The property subject to forfeiture is approximately $24,000.00. In the event that a condition
listed in Title 21, United States Code, Section 853 exists, the United States will seek to forfeit any
other property of the defendant in substitution up to the total value of the property subject to

forfeiture. The United States may seek the imposition of a money judgment.

RYAN K. PATRICK
UNITED STATES ATTORNEY

Sarina Sh hia DiPiazza

Roberto Lopez, Jr.
Assistant United States Attorneys

 
